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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 GEORGE ANIBOWEI                                §
                                                §
                    Plaintiff                   § Civ. Act. No.: 3:16-CV-3495-D
                                                §
v.                                              §
                                                §
                                                §
                                                §
JEFFERSON B. SESSIONS, et al.                   §
                                                §
                    Defendants                  §
                                                §

                        ORDER GRANTING
     UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE OBJECTIONS

      On                    , the Court considered the Unopposed Motion for Extension of

Time to file the Plaintiff’s Objections to the Magistrate Judge’s Supplemental Findings,

Conclusions and Recommendation, and after reviewing the Motion, the Court finds that the

Motion should be GRANTED.

      IT IS THEREFORE ORDERED that the Time to file the Plaintiff’s Objections to

the Magistrate Judge’s Supplemental Findings, Conclusions and Recommendation is hereby

extended until Wednesday, November 7, 2018.

      SIGNED on                                 , 2018.




                                         JUDGE PRESIDING
